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                                                                                                      E-FILED
                                                                          Friday, 18 June, 2021 09:04:28 PM
                                                                               Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION


 BIENVENU BUKOLA KANYINDA,

        Plaintiff,

 v.                                                  Case No. 2:21-cv-2142

 HUNTER WARFIELD, INC.,

        Defendant.

                                           COMPLAINT

       NOW COMES Plaintiff, BIENVENU BUKOLA KANYINDA, through

undersigned counsel, complaining of Defendant, HUNTER WARFIELD, INC., as follows:

                                    NATURE OF ACTION

       1.      This action is seeking redress for Defendant’s violation(s) the Fair Debt Collection

Practices Act (the “FDCPA”), 15 U.S.C. § 1692 et seq.

                                JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

       3.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                            PARTIES
       4.      BIENVENU BUKOLA KANYINDA (“Plaintiff”) is a natural person, over 18-

years-of-age, who at all times relevant resided at 2006 North Mattis Avenue, Apartment 202A,

Champaign, Illinois 61821.

       5.      Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

       6.      HUNTER WARFIELD, INC. (“Defendant”) is a corporation organized and existing

under the laws of the State of Maryland.


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       7.      Defendant has its principal place of business at 4620 Woodland Corporate

Boulevard, Tampa, Florida 33614.

       8.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       9.      Defendant uses instrumentalities of interstate commerce and the mail in its business

– the principal purpose of which is the collection of debt owed or due or asserted to be owed or

due another.

                                            FACTUAL ALLEGATIONS

       10.     In 2018, Plaintiff signed a lease to rent an apartment owned by Apartment Inventors

XXII LP.

       11.     In December of 2019, Plaintiff vacated the premises.

       12.     Apartment Inventors XXII LP issued a bill for $765 for damage and repairs once

Plaintiff's security deposit was applied.

       13.     Plaintiff orally agreed to pay the $765 in monthly installments – with an initial $100

payment sent on February 20, 2020.

       14.     Following Plaintiff's February 20, 2020 payment, Plaintiff never heard again from

Apartment Inventors XXII LP.

       15.     Defendant mailed Plaintiff a letter, dated June 20, 2020 (the "Letter"), which stated:

                                                                 Creditor Name                    APARTMENT INVENTORS XXII LP
                                                                 Creditor Account #               06216c20-b172-11ea-bbd9-f2474f12d6ed
                                                                 Hunter Warfield Account #        8108785
                                                                 Principal                        $1,495.00
                                                                 Amount Due                       $1,495.00

               Please be advised that your delinquency in the amount of $1,495.00 which is owed to our client, APARTMENT
               INVENTORS XXII LP, is outstanding. This debt has been referred to us for collection. Accordingly, demand is
               hereby made for full payment of your past due account.

               Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or
               any portion thereof, this office will assume the debt is valid. If you notify this office in writing within 30 days from
               receiving this notice that you dispute the validity of this debt or any portion thereof, this office will obtain
               verification of the debt or obtain a copy of judgment and send you a copy of such verification or judgment. If you
               request this office in writing within 30 days after receiving this notice this office will provide you with the name
               and address of the original creditor, if different from the current creditor.


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                  If you have questions regarding your account or with to pay over the phone by check or credit card, please
                  contact a representative at 844-440-2806, or you may log into www.payhwi.com. You will need your account
                  number and PIN provided below.

                  Sincerely,
                  Hunter Warfield, Inc.

                     THIS IS A COMMUNICATION FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO COLLECT A
                               DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

       16.        Soon thereafter, Plaintiff started to receive phone calls from Defendant – seeking

payment on Plaintiff's alleged $1,495 balance.

       17.        One day, Plaintiff answered and attempted explaining that he came to an agreement

with Apartment Inventors XXII LP to pay $765 in monthly installments.

       18.        Defendant, however, indicated that they were seeking payment of Plaintiff's

November rent payment in addition to Plaintiff's bill for damages and repairs.

       19.        Plaintiff disputed that he owed November's rent payment; providing Defendant

with evidence of payment – orally as well as written.

       20.        In spite of Plaintiff's evidence, Defendant continues to attempt to collect $1,495

from Plaintiff.

                                                        DAMAGES
       21.        The FDCPA thus gives debtors a right to receive accurate information, which they

can enforce against debt collectors by bringing suit under the FDCPA. See Hahn v. Triumph

P'ships LLC, 557 F.3d 755, 757 (7th Cir. 2009) ("The [FDCPA] is designed to provide information

that helps consumers to choose intelligently ").

       22.        The value of receiving truthful information about one's financial affairs—and the

ill effects of receiving misleading information—may be hard to quantify, especially where, as here,

the plaintiff did not act upon the misinformation.

       23.        But being lied to in violation of an anti-trickery statute like the FDCPA is a concrete

harm nevertheless. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-74, 102 S. Ct. 1114,

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71 L. Ed. 2d 214 (1982) (holding that a plaintiff "who has been the object of a misrepresentation

made unlawful" by federal statute suffered an injury in fact and thus had Article III standing).

       24.     Concerned with having had his rights violated, and worried about Defendant

attempting to collect an amount not owed, Plaintiff was forced to retain counsel; therefore,

expending time and energy to vindicate his rights.

                                       CLAIMS FOR RELIEF

                                              COUNT I:
                                 Violation of 15 U.S.C. § 1692 et seq.

       25.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

                                   Violation of 15 U.S.C. § 1692e

       26.     Section 1692e provides:

       [a] debt collector may not use any false, deceptive, or misleading representation or
       means in connection with the collection of any debt. Without limiting the general
       application of the foregoing, the following conduct is a violation of this section:

               (2)     the false representation of –

                       (A)       the character, amount, or legal status of any debt.

               (10)    the use of any false representation or deceptive means to collect or attempt
                       to collect any debt or to obtain information concerning a consumer.

       27.     Stating an incorrect amount of the debt undeniably violates section 1692e(2)(A).

       28.     Defendant violated 15 U.S.C. §§ 1692e(2)(A) and e(10) by falsely representing that

Plaintiff owed $1,495; when, Plaintiff only owed $665.

       29.     Plaintiff may enforce the provisions of 15 U.S.C. §§ 1692e(2)(A) and e(10)

pursuant to section k of the FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who

fails to comply with any provision of [the FDCPA] with respect to any person is liable to such

person in an amount equal to the sum of -
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      (1)    any actual damage sustained by such person as a result of such failure;

      (2)

             (A)     in the case of any action by an individual, such additional damages
                     as the court may allow, but not exceeding $1,000.00; or

      (3) in the case of any successful action to enforce the foregoing liability, the costs
               of the action, together with reasonable attorney's fees as determined by the
               court.


      WHEREFORE, Plaintiff requests the following relief:

      A.     a finding that Defendant violated 15 U.S.C. §§ 1692e(2)(A) and e(10);

      B.     an award of any actual damages sustained by Plaintiff;

      C.     an award of such additional damages, as the Court may allow, but not exceeding

             $1,000.00;

      D.     an award of costs of this action, together with reasonable attorney’s fees as

             determined by this Court; and

      E.     an award of such other relief as this Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.

DATED: June 18, 2021                                Respectfully submitted,

                                                    BIENVENU BUKOLA KANYINDA

                                                    By: /s/ Victor T. Metroff

                                                    Mohammed O. Badwan
                                                    Victor T. Metroff
                                                    SULAIMAN LAW GROUP, LTD.
                                                    2500 South Highland Avenue
                                                    Suite 200
                                                    Lombard, Illinois 60148
                                                    +1 630-575-8181
                                                    mbadwan@sulaimanlaw.com
                                                    vmetroff@sulaimanlaw.com
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